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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                             Case Number: 17-12030-RAM
MICHAEL RUSSEL DAY
JANICE CAMILLE DIANA HARRIS DAY
      Debtor
____________________________/

             MOTION FOR ORDER TO SHOW CAUSE AND TO DISGORGE FEES

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee") files this MOTION FOR

ORDER TO SHOW CAUSE AND MOTION TO DISGORGE FEES and states as follows:

         1. MATTHEW E. MAZUR, JR, Esq received $4650.00 in attorney fees in the instant

case.

         2. The plan provided for the cure and maintenance of payments to US BANK, N.A..

         3. In the Rights and Responsibility Letter promulgated by this Court and signed by

MATTHEW E MAZUR, JR, Esq, the Debtor's attorney agrees to file the Motion to Determine

Final Cure and Mortgage Payments. Rights and Responsibility Letter page 3, Section "THE

ATTORNEY AGREES TO" paragraph 11. See attached.

         4. On January 18, 2022, the Trustee sent a letter to MATTHEW E MAZUR, JR, Esq

requesting that the motion be filed as required by Fed. R. Bankr. P. 3002.1(f) and Local Rule

3070-1(E). See letter attached.

         5) As of February 16, 2022, the motion to deem US BANK, NA current is not docketed.

         WHEREFORE, the Trustee requests that this Court enter an order to show cause why the

Debtor attorney has not filed the motion(s) to deem current and t0 disgorging the fees of

MATTHEW E MAZUR, JR, Esq in the amount of $525.00 or any other amount the Court may

deem sufficient for the debtors to hire counsel to file the motion to deem current and for any
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other relief that the Court may deem necessary.



                                     RESPECTFULLY SUBMITTED:
                                               NANCY K. NEIDICH, ESQUIRE
                                               STANDING CHAPTER 13 TRUSTEE
                                               P.O. BOX 279806
                                               MIRAMAR, FL 33027-9806

                                                    By: /s/___________________
                                                            Amy E. Carrington, Esq.
                                                            Senior Staff Attorney
                                                            FLORIDA BAR NO: 101877

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this Motion to Disgorge Fees was served
through NEF on MATTHEW E MAZUR, JR, debtor's attorney on February 17,
2022__________________________:




                                                    /s/
                                                    Amy E Carrington, Esq
